 

Oo Oo TDD nA FP WY YO

NO NO NO NHN NY NH NH KN ND HB HB HB Se He Fe Fe ee eS
ao st KN ON BP WYN KH DOD OBO DOT HR vA BP WY NY KS CO

Case 3:15-mj-05071-KLS Document 1 Filed 05/18/15

Page 1 of 7

The Honorable Karen L. Strombom

 

 

 

 

UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, NO. /777/45-
Plaintiff,
Vv.
MELFORD JOHN WARREN,
Defendant.

 

 

 

 

5O7/

COMPLAINT FOR VIOLATION
Title 18, United States Code, Section 1073

BEFORE the Honorable Karen L. Strombom, United States Magistrate Judge,

U.S. Courthouse, Tacoma, Washington.
The undersigned complainant being duly sworn states:

COUNT 1
(Flight to Avoid Prosecution)

On a date unknown, but between or about August 27, 2014 and September 15,

2014, at Port Orchard, within the Western District of Washington, and elsewhere, the
defendant, MELFORD JOHN WARREN, did move and travel in interstate commerce

from Seattle, State of Washington, to the State of Oregon, with the intent to avoid

prosecution under the laws of the State of Washington for the crimes of Assault of a

COMPLAINT/MELFORD - 1

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

 
oOo Oo SN DN A BW NO

NO NO NO HN NHN NO NHN NY NO KR =— Be Se Se Se Fe Se ee
oO aN mM PW NY K§K§ OD OO Wns HDB nA FB YW NY KS CO

 

 

Case 3:15-mj-05071-KLS Document1 Filed 05/18/15 Page 2 of 7

Child in the Second Degree, Domestic Violence; Rape of a Child in the First Degree,
Domestic Violence; Rape of a Child in the First Degree, Domestic Violence; and Child
Molestation in the First Degree, Domestic Violence, which are felonies under the laws of
the State of Washington.

All in violation of Title 18 United States Code, Section 1073.

The undersigned Complainant, Brandon Ratliff, being duly sworn, further deposes
and states as follows:

1. I am a Supervisory Deputy with the United States Marshals Service, having
been so employed since 2001, and as such am vested with the authority to investigate
violations of Federal laws, including Title 18, United States Code, Section 1073. I
presently supervise the U.S. Marshals Service sponsored Pacific Northwest Violent
Offender Task Force- South, in the Western District of Washington. The following is
information developed during my investigation, and also information provided to me by
other law enforcement sources.

2. On 08/27/2014 a CPS worker contacted KCSO based on a report made to
her via a Mary Bridge Hospital social worker in Tacoma. The social worker had
indicated that hospital staff was evaluating a 14 month-old female for what appeared to
be a “non-accidental” fractured arm that required surgery. The mother was also reported
as not wanting hospital staff to conduct any further examination of the child. Apparently
the mother indicated she did not want the child to be subjected to any x-rays because she
feared the radiation might prevent her daughter from being able to have children
someday. The child was identified as ENME, and was brought to the hospital by her
mother, A.J. Detective Baker and Detective Blankenship subsequently conducted an
investigation with Child Protective Services. The attending physician advised detectives
that ENME had a super conjular fracture which is a common fracture seen in older
children and adults.

3. That investigation uncovered that female adults, A.J and S.S., were living
together at a residence located at 1954 Woods Rd, Port Orchard. Ultimately it was

COMPLAINT/MELFORD - 2 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
oO Oo SN HN OH BW NY

NO BPO KN NO NO KN KN KRDO NRO mw mm mp eet
oN KN OO BP WY NY KK Oo Oo ON NHN nO BP WY NYO | OC

 

 

Case 3:15-mj-05071-KLS Document1 Filed 05/18/15 Page 3 of 7

discovered that they were involved in an unusual relationship with a male named
MELFORD JOHN WARREN, who was also living with them at Woods Rd and is
believed to have fathered approximately 12 children between the two women. Upon
attempting to make contact at the Woods Rd address Detectives only discovered a few of
the younger children in the home and it is believed that MELFORD JOHN WARREN
fled out of the back of the residence. It was subsequently learned that the rest of the
children were secreted in the attic at the time of that contact to conceal them from law
enforcement. Law Enforcement and CPS went to the house again the next day and
MELFORD JOHN WARREN was contacted, but he provided a false name. It was later
discovered that MELFORD JOHN WARREN had a Ist degree Assault warrant issued
out of Baltimore, Maryland for assaulting S.S. threatening her with a sword. A.J. and
S.S. were deemed by detectives to be very uncooperative, evasive, untruthful, and
secretive throughout the investigation. Detectives believed that the two women and their
children appeared to be under the control of MELFORD JOHN WARREN and they
suspected some kind of abuse was occurring in the family, although no disclosures of
abuse were made at the time. Although the break to ENME’s arm was highly suspicious
there was not enough evidence at the time to sustain an assault charge.

4. A few days after that police contact with MELFORD JOHN WARREN, the
family abruptly moved out of the Woods Rd address.

5. On 09/15/2014, MELFORD JOHN WARREN was contacted by the
Kittitas County Sheriff's Office at an Eastern Washington rural campground after a
citizen reported observing children at the campground left unattended, without food or
shelter. MELFORD JOHN WARREN was located with the children and was arrested for
the Baltimore warrant. A total of seven children that were with him or at the camp site
were placed into CPS protective custody. Kittitas County Deputy Woody advised
Detective Baker that he was concerned and felt like there was some kind of cult
activity/behavior going on. He said that the children’s behavior was suspicious during
the law enforcement contact at the campsite and that they would not speak with the adults

COMPLAINT/MELFORD - 3 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo Oo NID nA BP WO NY

NO wo bh NH WHO NH WN NO NO KF HF KF KF KF FP OPS OS S|
oOo sa HN OW FP WY NY KK DOD OBO OHH A HR WY NY KK OC

 

 

Case 3:15-mj-05071-KLS Document1 Filed 05/18/15 Page 4 of 7

involved with the case unless the oldest boy (13 years-old) told them they could. Deputy
Woody said that the two little girls he had taken into custody with him would sit off to
the side on a curb just rocking back and forth. Detective Baker was told that once the
adults would walk away from the children during their contact, the kids would begin
talking amongst themselves. Baker was advised that the children were then overheard
referring to A.J. as "the breeder" and that when the police would come to their house they
would "hide in the roof".

6. Baltimore declined to extradite and charge MELFORD JOHN WARREN
after his arrest and he was released from custody with his whereabouts still unknown.

7. CPS ended up taking all of the known located children associated with the
MELFORD JOHN WARREN, S.S. and A.J. relationship into protective custody, where
they remain at this time. The nature of the family relationship is not well defined by the
actors involved. S.S. and A.J. admitted to bearing MELFORD JOHN WARREN’s
children, but refused to describe him as their husband or boyfriend. According to her
sister, A.J. refers to herself as a “breeder”. All of the children have multiple and very
unusual names and they range in age from infant to 13 years of age. Observations of the
children by law enforcement indicate that the children appeared groomed to say little to
nothing to law enforcement at that time.

8. On 05/07/2015 the foster mother of two of MELFORD JOHN WARREN’s
children brought them into the KCSO Special Assault Unit to be forensically interviewed
after making disclosures of abuse by their father, MELFORD JOHN WARREN. The
children, GPMJ, and GZMJ were both interviewed separately that day. Detective
Birkenfeld reviewed the video taped forensic interview with GZMJ and provided me with
the following information. GZMJ disclosed multiple incidents of serious physical abuse
by her father, MELFORD JOHN WARREN, which occurred in other jurisdictions in
King County prior to the family moving to Kitsap County. She revealed that her father
would hit the children with sticks and bats, put them in cold water, and punch them. One
of those incidents included her father breaking her arm and beating her because she could

COMPLAINT/MELFORD - 4 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo Oo SN NHN A BW YP

Nw bd NY bP HN HN PK KN NY KH HF KF HF FF He Fe Fe eS
Oo IN A BP WwW NY K§ OD HO fH It HD NA BW NY —- OC

 

 

Case 3:15-mj-05071-KLS Document1 Filed 05/18/15 Page 5 of 7

not read. She indicated that he hit her with a bat and threw her against a wall. GZMJ
stated that MELFORD JOHN WARREN had also picked her up by the neck (with her
feet off the ground) and choked her and their dog, and that she had difficulty breathing.
She said another time her father had burned her hand with a lighter. GZMJ further stated
that on another occasion her father put what she believed was a real gun up to the side of
her right cheek and pushed the barrel on her so hard that she started to bleed. All of these
incidents appeared to have taken place in King County jurisdictions at other locations
where the family had previously resided (Magnolia, Kent, and Vashon Island).

9. Detective Birkenfeld also reviewed the forensic interview conducted with
GPMJ and provided me with the following information about that interview. Detective
Birkenfeld indicated the GPM] also disclosed on going serious physical and sexual abuse
being inflicted on her and her siblings by their father, MELFORD JOHN WARREN over
a number of years that occurred in King County, Kittitas County, and Kitsap County
Jurisdictions. GPMJ advised that that last time her father sexually abused her was in the
woods while they were camping on the day he was arrested (Kittitas County). She
advised that her father took her near some bushes and had sex with her. She said, “He
put his into mine”, referring to their private parts. She said her pants were pulled down
and he forced her to lie down on a log. She said that he unzipped his jeans near his
private area and that his private was dark, hairy, and wrinkly. She said that when they
got back to their camp site the police were there and arrested her father. She also stated
that he had a cast on his arm at the time, from an injury that appears to have occurred
when he jumped out the back of their residence on Woods Rd during prior police contact.
The children further indicated that after this incident, their father returned and took them
to Kent, and then “left to find a farm in Oregon” prior to being contacted again by police.
Kittitas County booking records indicate that MELFORD JOHN WARREN did have a
cast on his arm at the time of his arrest on 09/15/2014. Based on GPMSJ’S description of
this incident it appears this rape happened on 09/15/2014 in Kittitas County.

COMPLAINT/MELFORD - 5 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
Co Oo aI HD nm FP WO NY

NM bv NO NO NWN HN KN KN KR HR KH RR KS PF PF OF eS
oN DN OH BP WY NYO KY ODO OO wHemnH HD A PRP WW NY —| O&O

 

 

Case 3:15-mj-05071-KLS Document1 Filed 05/18/15 Page 6 of 7

10. The truck that MELFORD JOHN WARREN was driving when contacted
by police in Kittitas County had expired Washington State 2009 license plates at the time
of his arrest. Department of Licensing (DOL) records reflect that the truck 1s now
currently registered in Oregon under another individual’s name.

11. During a follow up interview with S.S., after MELFORD JOHN WARREN
arrest, she told CPS and Detectives that the family was in the process of attempting to
relocate/flee to Portland, Oregon.

12. On May 15, 2015, MELFORD JOHN WARREN was charged in Kitsap
County with Assault of a Child in the Second Degree, Domestic Violence; Rape of a
Child in the First Degree, Domestic Violence; Rape of a Child in the First Degree,
Domestic Violence; and Child Molestation in the First Degree, Domestic Violence.

13. Based on the above facts, I respectfully submit that there is probable cause
to believe that MELFORD JOHN WARREN did travel to Oregon and traveled there to
avoid prosecution in the State of Washington for Assault of a Child in the Second
Degree, Domestic Violence; Rape of a Child in the First Degree, Domestic Violence;
Rape of a Child in the First Degree, Domestic Violence; and Child Molestation in the
/I

//
//

COMPLAINT/MELFORD - 6 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970

 

 

 
 

oOo Oo Sn DB OW FP WY YP

bo bo BN HO KO BP KH DN RO Re i
Co tN DB OH BP WY NYO K§ OD BO Ox DB HA BP W NY KK CO

 

 

Case 3:15-mj-05071-KLS Document1 Filed 05/18/15 Page 7 of 7

First Degree, Domestic Violence, and therefore there is probable cause to believe that
MELFORD JOHN WARREN committed the offense of Flight to Avoid Prosecution, in
violation of Title 18, United States Code, Section 1073.

Brandon Ratliff,
Special Deputy, US Marshals Service
Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendant
committed the offense set forth in the Complaint.
Dated this A" day of May, 2015.
KAREN L. STROMBOM
United States Magistrate Judge

COMPLAINT/MELFORD - 7 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
